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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,    Civil Action No. 1:19-cv-02232-TJK

                   Plaintiffs,
v.

DEUTSCHE TELEKOM AG, et al.,

                   Defendants.


     DECLARATION OF ELSBETH BENNETT IN SUPPORT OF T-MOBILE’S AND
      DEUTSCHE TELEKOM’S OPPOSITION TO DISH’S MOTION FOR RELIEF
                          FROM JUDGMENT
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       I, Elsbeth Bennett, declare as follows:

       1.     I am an attorney at the law firm of Cleary Gottlieb Steen & Hamilton LLP and

counsel for T-Mobile US, Inc. (“T-Mobile”) and Deutsche Telekom AG (“Deutsche Telekom”) in

the above-captioned matter. I have personal knowledge of the following.

       2.     I submit this declaration in support of T-Mobile’s and Deutsche Telekom’s

Opposition to DISH’s Motion for Relief from Judgment.

       3.     Attached as Exhibit A is a true and correct copy of DISH’s Form 10-K for the fiscal

year ended December 31, 2022, downloaded from https://www.sec.gov/ix?doc=/Archives/

edgar/data/1001082/000155837023001811/dish-20221231x10k.htm.

       4.     Attached as Exhibit B is a true and correct copy of the License Purchase Agreement

by and between T-Mobile USA, Inc. and DISH Network Corporation dated July 1, 2020.

       5.     Attached as Exhibit C is a true and correct copy of the transcript from DISH’s Q2

2022 Earnings Call, downloaded from CapitalIQ.

       6.     Attached as Exhibit D is a true and correct copy of the transcript from DISH’s Q4

2022 Earnings Call, downloaded from CapitalIQ.

       7.     Attached as Exhibit E is a true and correct copy of the transcript from DISH’s Q1

2023 Earnings Call, downloaded from CapitalIQ.

       8.     Attached as Exhibit F is a true and correct copy of a March 6, 2023 email from

Melissa Scanlan to Jeffrey Blum.

       9.     Attached as Exhibit G is a true and correct copy of a June 15, 2023 press release by

DISH titled “The DISH 5G Network is Now Available to Over 70 Percent of the U.S. Population,”

downloaded from https://about.dish.com/2023-06-15-The-DISH-5G-Network-is-Now-Available-

to-Over-70-Percent-of-the-U-S-Population.




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       10.      Attached as Exhibit H is a true and correct copy of a July 6, 2023 email from Jared

Hughes to Heather Johnson.

       11.      Attached as Exhibit I is a true and correct copy of an August 1, 2023 email from

Mark Nelson to Jeffrey Blum.

       12.      Attached as Exhibit J is a true and correct copy of T-Mobile’s August 19, 2023

Notice of Default under the License Purchase Agreement.

       13.      Attached as Exhibit K is a true and correct copy of the April 29, 2018 announcement

of the T-Mobile and Sprint Merger, downloaded from https://www.t-mobile.com/news/press/

5gforall.

       14.      Attached as Exhibit L is a true and correct copy of DISH’s Form 10-Q for the

quarterly period ended June 30, 2023 downloaded from https://www.sec.gov/ix?doc=/

Archives/edgar/data/0001001082/000155837023013759/dish-20230630x10q.htm.

       15.      Attached as Exhibit M is a true and correct copy of DISH’s Form 10-K for the fiscal

year ended December 31, 2019, downloaded from https://www.sec.gov/ix?doc=/Archives/

edgar/data/0001001082/000155837020000945/dish-20191231x10kce7e53.htm.

       16.      Attached as Exhibit N is a true and correct copy of a June 26, 2023 Ex Parte FCC

filing by DISH, downloaded from https://wireless2.fcc.gov/UlsApp/ApplicationSearch/appl

AdminPleadings.jsp?applID=14148003.

       17.      Attached as Exhibit O is a true and correct copy of the transcript from DISH’s Q1

2021 Earnings Call, downloaded from CapitalIQ.

       18.      Attached as Exhibit P is a true and correct copy of the transcript from DISH’s Q3

2022 Earnings Call, downloaded from CapitalIQ.




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       19.      Attached as Exhibit Q is a true and correct copy of a January 11, 2023 email from

Nancy Victory to Pantelis Michalopoulos.

       20.      Attached as Exhibit R is a true and correct copy of a August 15, 2023 email from

Jeff Blum to Nancy Victory and others.

       21.      Attached as Exhibit S is a true and correct copy of the transcript from DISH’s Q2

2021 Earnings Call, downloaded from CapitalIQ.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on August 25, 2023.




                                                    Elsbeth Bennett
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                                                    ebennett@cgsh.com




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